         Case 21-32351 Document 888 Filed in TXSB on 12/07/21 Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE:                                                       CHAPTER 11
    LIMETREE BAY SERVICES, LLC, et al.,1                         CASE NO.: 21-32351 (DRJ)
             Debtors.                                            (Jointly Administered)

          NOTICE OF WITHDRAWAL OF: (I) NOTICE OF DESIGNATION OF
            WINNING BID AND BACK-UP BIDS AND SIXTH NOTICE OF
         EXTENSION OF MILESTONES AND BID PROCEDURES DEADLINES;
               AND (II) NOTICE OF EMERGENCY SALE HEARING

        PLEASE TAKE NOTICE that, pursuant to the Bid Procedures Order2 and Paragraph 26
of the Bidding Procedures, the Debtors hereby withdraw the Notice of (I) Designation of Winning
Bid and Back-up Bids and (II) Sixth Notice of Extension of Milestones and Bid Procedures
Deadlines [Doc. No. 829];3 and

       PLEASE TAKE FURTHER NOTICE THAT, the Debtors hereby withdraw the Notice
of Emergency Sale Hearing on December 7, 2021 at 4:00 p.m. Central Time [Doc. No. 830]. The
Sale Hearing (as defined therein) is rescheduled to December 21, 2021, at 10:00 a.m. Central
Time [Doc. No. 884]. The Debtors shall separately notice the Sale Hearing and related objection
deadlines at a later date.


                                          [Signature Page Follows]




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776);
Limetree Bay Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining
Operating, LLC (9067); Limetree Bay Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree
Bay Services, LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.
2
  Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the order [Doc.
No. 392] granting the Debtors’ Emergency Motion for Entry of Order: (I) Establishing Bidding and Sale Procedures;
(II) Approving the Sale of Assets; and (III) Granting Related Relief [Doc. No. 191].
3
 The Designation Notice shall only be withdrawn with respect to the designation of St. Croix as the Winning Bidder
and collectively Sabin and Bay as the Back-up Bidders. This Notice shall not affect the extensions of the Milestones
and Bid Procedures Deadlines made in the Designation Notice.
        Case 21-32351 Document 888 Filed in TXSB on 12/07/21 Page 2 of 2




 Dated: December 7, 2021                            BAKER & HOSTETLER LLP

                                                    /s/ Elizabeth A. Green
                                                    Elizabeth A. Green, Esq.
                                                    Fed ID No.: 903144
                                                    Jimmy D. Parrish, Esq.
                                                    Fed. ID No. 2687598
                                                    SunTrust Center, Suite 2300
                                                    200 South Orange Avenue
                                                    Orlando, FL 32801-3432
                                                    Telephone: 407.649.4000
                                                    Facsimile: 407.841.0168
                                                    Email: egreen@bakerlaw.com
                                                            jparrish@bakerlaw.com

                                                    BAKER & HOSTETLER LLP
                                                    Jorian L. Rose, Esq.
                                                    Admitted Pro Hac Vice
                                                    N.Y. Reg. No. 2901783
                                                    45 Rockefeller Plaza
                                                    New York, New York 10111
                                                    Telephone: 212.589.4200
                                                    Facsimile: 212.589.4201
                                                    Email: jrose@bakerlaw.com

                                                    Counsel for the Debtors and Debtors in
                                                    Possession



                                     Certificate of Service

        I certify that on December 7, 2021, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.
                                               /s/ Elizabeth A. Green
                                               Elizabeth A. Green




                                                2
